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                   EXHIBIT P
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         Secretary of State Marco Rubio and Salvadoran
         Foreign Minister Alexandra Hill Tinoco at the
         Signing of a Memorandum of Understanding
         Concerning Strategic Civil Nuclear Cooperation
         REMARKS

         MARCO RUBIO, SECRETARY OF STATE
         INTERCONTINENTAL SAN SALVADOR
         SAN SALVADOR, EL SALVADOR

         FEBRUARY 3, 2025




     FOREIGN MINISTER HILL: (Via interpreter) His Excellency the Secretary of State, my friend,
     Marco Rubio, and members of his delegation; your excellency the U.S. ambassador accredited in
     our country, Mr. William Duncan; Madam Vice Minister of Foreign Affairs Adriana Mira; to the
     president of the Hydroelectric Commission of the Lempa River, Daniel Álvarez; Madam
     Salvadoran Ambassador to the United States, Ms. Milena Mayorga; our friends from the press;
     ladies and gentlemen, I feel privileged today and filled with enormous gratitude toward the
     people and the new administration of the United States of America.

     Two weeks have gone by and we have this visit from the Secretary of State, who is already a
     friend of our country. That is only a sign of the ties of friendship and goodwill for the well-being
     of our peoples. Thank you, Mr. Secretary. Thank you for this enormous gesture.



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     It is an honor to be able to sign this agreement, this memorandum of understanding and
     cooperation for civil nuclear energy. It is another accomplishment and goal for President Bukele.
     In addition to offering energy 24 hours a day at competitive pricing without depending on
     geopolitics or on oil prices, it is a commitment for our prosperity. And to that end, this nuclear
     energy is a strategic option which will not just help reduce our carbon footprint, it will also ensure
     reliable and efficient electric energy for our country’s development and for the well-being of our
     people.

     El Salvador is making rapid progress in building our key infrastructure, from housing projects to
     the establishment of large-scale technology companies. In these specific efforts, we need the
     accompaniment from our greatest and most trustworthy partner, from our friends on whom we
     can depend that they will give us the best training and knowledge transfer which will be
     essential. The experience that you have on civil nuclear energy will give us all of the tools we
     need to train our people, to train our Salvadoran experts, who will lead the technical and
     regulatory aspects of this transition – this unprecedented transition.

     Support from the U.S. Government, as we all know, goes much beyond just energy generation.
     This memorandum of understanding also opens the doors to develop nuclear applications for
     essential sectors such as medicine, agriculture, water resource management, and safe waste
     management. This will also build our capacity for research, innovation, and sustainable
     development.

     Thank you once again, Mr. Secretary. Thank you on behalf of El Salvador, on behalf of each of
     our inhabitants. I’m grateful deeply for your support and commitment. This is and always will be
     a place where you are welcome. It is a country that welcomes you with open arms and an open
     heart, ready to walk hand in hand with you. I am convinced that this is just the beginning and a
     great start of a stage of close and fruitful cooperation and strengthening between our nations
     and our peoples. Thank you very much. (Applause.)

     MODERATOR: (Via interpreter) Thank you very much to the Minister of Foreign Affairs of El
     Salvador, Alexandra Hill, for those remarks. At this time, we will hear and I invite His Excellency
     the Secretary of State of the United States of America.

     SECRETARY RUBIO: (In Spanish) and then I’ll switch to English for our friends as well, and I’ll be
     brief on both.

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     (In Spanish.)

     It’s a great honor and a privilege. This is my first signing ceremony. Been Secretary of State now
     for just – is today Tuesday? Two weeks. (Laughter.) And it’s great to do it here in a nation,
     among people with which we have so much in common that unifies us. There’s an extraordinary
     Salvadoran American community in South Florida and also in the Washington, D.C. metropolitan
     area, where I’ve worked in the Senate, now as Secretary of State, for a number of years. And we
     are unified and hold in common so many things.

     It’s also exciting to be here in the presence of all of you to see the transformation of a society and
     of a nation that not too long ago faced great insecurity. But we have seen the transformation
     under the leadership of this administration here and President Bukele. A country that was once
     known for violence and for the inability to live openly and freely with one’s family and enjoy life
     has now become one of the most secure in the hemisphere thanks to his leadership, to the
     difficult decisions that had to be made.

     But now in addition to continuing to maintain and build upon that security comes the
     extraordinary opportunity of transformation – to prepare this country and its people for the 21st
     century, for the technologies like nuclear energy that will allow you to power a 21st century
     economy that will allow this to be the home of every advanced technology and industry of this
     new era, so that the people – the young people of this country and all people of this country – will
     be able to live not just in peace but in prosperity, raise their families here, and give their children
     the chance at a life even better than their own. It’s so exciting to be here today as part of this
     agreement that – of civil nuclear cooperation, in which we can take the first step, side by side with
     you, the people of El Salvador, to build that better future.

     I think I would also take a moment to announce, especially to our friends covering this back
     home in America, of an extraordinary meeting we had. We spent over two and a half – (in
     Spanish) – two and a half to three hours with my friend President Bukele and his team, and then
     we had some time privately. And while more details will be forthcoming, the president in an act
     of extraordinary friendship to our country, knowing the challenges we face in the U.S., has agreed
     to the most unprecedented and extraordinary migratory agreement anywhere in the world.

     First, obviously, he continues with full cooperation on the returning of Salvadorans who find
     themselves illegally in the United States and welcome them back home, and that’s already

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     existing and that will continue. But second, he has agreed to accept for deportation any illegal
     alien in the United States who is a criminal from any nationality, be they MS-13 or Tren de
     Aragua, and house them in his jails. And third, he has offered to house in his jails dangerous
     American criminals in custody in our country, including those of U.S. citizenship and legal
     residents. No country’s ever made an offer of friendship such as this.

     You can think about it: any unlawful immigrant, illegal immigrant in the United States who’s a
     dangerous criminal – MS-13, Tren de Aragua, whatever it may be – he has offered his jails so we
     can send them here and he will put them in his jails. And he’s also offered to do the same for
     dangerous criminals currently in custody and serving their sentences in the United States, even if
     they’re U.S. citizens or legal residents. We are just profoundly grateful. I spoke to President
     Trump about this earlier today, and it’s just one more sign of what an incredible friend we have
     here in President Bukele and the people of El Salvador.

     Thank you and God bless you, and now let’s – I look forward to signing this agreement.
     (Applause.)

     (The memorandum was signed.)


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